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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:

UNIVERSAL TOWERS CONSTRUCTION,                       CASE NO. 6:20-bk-03799-KSJ
INC.,                                                Chapter 11

      Debtor.
_____________________________________/

                       NOTICE OF AUCTION AND SALE HEARING

PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.      On November 25, 2020, Universal Towers Construction, Inc. (the “Debtor”), filed
a Motion for entry of an order (the “Bid Procedures Order”), among other things, (a) approving
certain competitive bidding and sale procedures (the “Bid Procedures”) for the sale of the Debtor’s
interest in the hotel real and personal property located at 7800 Universal Boulevard, Orlando,
Florida 32819 (the “Hotel”); (b) approving the form and manner of notice of the auction of the
Hotel and the Sale Hearing; and (c) scheduling a sale hearing (the “Sale Hearing”) to consider the
sale of the Hotel, (d) setting objection and bidding deadlines with respect to the sale of the Hotel
and (e) establishing procedures for the assumption and assignment of executory contracts and
unexpired leases with the Debtor. The Motion additionally requested entry of an order (the “Sale
Order”) approving (i) the sale of the Hotel free and clear of liens, claims, encumbrances and
interests, except as set forth in the Bid Procedures Order; (ii) the assumption and assignment of
executory contracts and unexpired leases with the Debtor, and (iii) certain related relief.

        2.      On December 1, 2020, the United States Bankruptcy Court for the Middle District
of Florida entered the Bid Procedures Order (Doc. No. 208). Pursuant to the Bid Procedures, the
Auction for the Hotel shall take place on March 16, 2021, at 11:00 a.m. (prevailing Eastern Time)
virtually through an online platform hosted by Fisher Auction Company (“Auctioneer”). Bidding
at the Auction will begin at $28,532,500.00. Only parties that comply with the Bidder
Qualifications, in accordance with the Bid Procedures, by no later than 5:00 p.m. (Eastern Time)
three (3) business days before the Auction (the “Auction Qualification Deadline”) may participate
at the Auction. Any party that wishes to take part in this process and submit a bid for the Hotel
must submit its Bidder Qualifications prior to the Auction Qualification Deadline and in
accordance with the Bid Procedures. Parties interested in receiving information regarding the sale
of the Hotel should contact undersigned counsel and the Auctioneer, Lamar Fisher
(lamar@fisherauction.com), and Patricia McGrath, Esq. (patricia@fisherauction.com). For more
information about the Auction and about how to become a pre-qualified bidder, please visit
http://orlandohotelauction.com.

       3.     Debtor has designated a Stalking Horse Bid and a Stalking Horse Bidder at the
Auction. The Stalking Horse Bid amount is $28,250,000.00. The Stalking Horse Bidder is entitled
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to a Breakup Fee in the amount of 1% of the Stalking Horse Bid amount in the event the Stalking
Horse Bidder is not the ultimate Buyer of the Hotel.

        4.       The Sale Hearing to consider approval of the sale of the Hotel and the assumption
and assignment of the Potential Assumed and Assigned Contracts to the Successful Bidder free
and clear of all liens, claims, encumbrances and interests will be held before the Honorable Karen S.
Jennemann, United States Bankruptcy Court, 400 W. Washington St., Courtroom A (6th Floor),
Orlando, FL 32801 on March 17, 2021 at 2 p.m. (prevailing Eastern Time), or at such earlier date
as counsel may be heard. The Sale Hearing may be continued from time to time without further
notice to creditors or parties in interest other than by announcement of the continuance in open court
on the date scheduled for the Sale Hearing (or in agenda).

         5.     Objections, if any, to the relief requested in the Motion in respect of the sale of the
Hotel, the determination of which Qualified Bid is the Successful Bid, or any other aspect of the
Auction must: (i) be in writing, (ii) comply with the Bankruptcy Rules and the Local Rules, (iii)
be filed with the clerk of the Bankruptcy Court for the Middle District of Florida, Orlando Division,
400 West Washington Street, Suite 5100, Orlando, FL 32801 (or filed electronically via CM/ECF),
on or before 4:00 p.m. (prevailing Eastern time) five (5) business day before the Sale Hearing (the
“Sale Objection Deadline”), and (iv) served upon (a) counsel to the Debtor, Burr & Forman, LLP,
200 S. Orange Ave., Suite 800, Orlando, Florida 32801, Attn: Eric. S. Golden, Esq., Email
egolden@burr.com and Christopher R. Thompson, Esq., Email at crthompson@burr.com; and (b)
the Office of the United States Trustee, George C. Young Federal Building, 400 West Washington
Street, Suite 1100, Orlando, Florida 32801, Tel: (407) 648-6301, Attn: Jill Kelso at
jill.kelso@usdoj.gov (collectively, the “Notice Parties”), in each case, so as to be actually received
no later than 4:00 p.m. (prevailing Orlando, Florida time) on the same day.

       6.      The failure of any person or entity to file an objection before the Sale Objection
Deadline shall be deemed a consent to the sale of the Hotel to the Successful Bidder or Back-Up
Bidder, as applicable, and the other relief requested in the Motion, and be a bar to the assertion, at
the Sale Hearing or thereafter, of any objection to the Motion, the Auction, the sale of the Hotel,
and the assumption or assumption and assignment of the Potential Assumed and Assigned
Contracts.

        7.     This Notice and the Sale Hearing are subject to the fuller terms and conditions of
the Motion, the Bid Procedures Order, and the Bid Procedures, which shall control in the event of
any conflict and the Debtor encourages parties in interest to review such documents in their
entirety. Copies of the Motion, the Bid Procedures, and/or the Bid Procedures Order may be
obtained by request in writing, by telephone, or via email from counsel to the Debtor: Burr &
Forman, LLP, 200 S. Orange Ave., Suite 800, Orlando, Florida 32801, 407-540-6600, Attn: Eric. S.
Golden, Esq., Email egolden@burr.com and Christopher R. Thompson, Esq., Email at
crthompson@burr.com. In addition, copies of the aforementioned pleadings may be found on the
Pacer website, http://ecf.flmb.uscourts.gov.

       Respectfully submitted on February 10, 2021.




                                                  2
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                                                     /s/ Christopher R. Thompson
                                                     Eric S. Golden
                                                     Florida Bar No. 146846
                                                     Email: egolden@burr.com
                                                     Christopher R. Thompson
                                                     Florida Bar No. 93102
                                                     Email: crthompson@burr.com
                                                     BURR & FORMAN LLP
                                                     200 S. Orange Avenue, Suite 800
                                                     Orlando, FL 32801
                                                     Phone: (407) 540-6600
                                                     Fax: (407) 540-6601
                                                     Attorneys for Debtor


                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Auction and
Sale Hearing was served on February 10, 2021, via electronic notice through CM/ECF system to
all parties registered to receive notices via CM/ECF. A supplemental certificate of service will be
filed upon completion of service by U.S. Mail, postage prepaid, to: all creditors, purported
lienholders, all parties in interest who have requested notice pursuant to Bankruptcy Rule 2002,
and all counterparties to any executory contract or unexpired lease of the Debtor, identified on the
attached Creditor Matrix (who have not already received electronic notice); the Office of the
United States Trustee, George C. Young Federal Building, 400 West Washington Street, Suite
1100, Orlando, Florida 32801, Attn: Jill Kelso; the U.S. Attorney’s Office, 400 West Washington
Street, Suite 1300, Orlando, FL 32801; Internal Revenue Service, PO Box 7346, Philadelphia, PA
19101-7346; all parties to any litigation involving the Debtor; and via electronic service through
Fisher Auction Company on all potential bidders currently known to the Debtor and Fisher Auction
Company.

                                                     /s/ Christopher R. Thompson
                                                     Christopher R. Thompson




                                                 3
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Label Matrix for local noticing                Bank of America, N.A., only with respect to     Burr & Forman LLP
113A-6                                         c/o Liebler Gonzalez & Portuondo                200 S. Orange Avenue, Ste. 800
Case 6:20-bk-03799-KSJ                         44 West Flagler Street                          Orlando, FL 32801-6404
Middle District of Florida                     Courthouse Tower - Suite 2500
Orlando                                        Courthouse Tower - Suite 2500
Wed Feb 10 14:35:57 EST 2021                   Miami, FL 33130-1808
Constrazza International Construction, Inc     Fisher Auction Company, Inc.                    G&R PLBG Enterprises
c/o Keith T. Grumer, Esq                       c/o Lamar Fisher                                Gary Ridatijao, President
100 NE Third Avenue                            351 S Cypress Road, Ste 210                     2545 S. Nashville Ave.
Suite 280                                      Pompano Beach, FL 33060-7159                    Orlando, FL 32805-5255
Fort Lauderdale, FL 33301-1165

Eric S Golden                                  Juan Gonzalez                                   Keith T. Grumer
Burr & Forman LLP                              127 W. Fairbnks #232                            c/o Arthur Halsey Rice, Esq.
200 South Orange Avenue, Suite 800             Winter Park, FL 32789-4326                      101 Northeast Third Avenue
Orlando, FL 32801-6404                                                                         Suite 1800
                                                                                               Fort Lauderdale, FL 33301-1252

Katz Barron                                    Ocean Bank                                      Oracle America, Inc.
c/o Arthur Halsey Rice, Esq.                   780 NW 42 Avenue                                Buchalter PC
101 Northeast Third Avenue                     Suite 500                                       c/o Shawn M. Christianson
Suite 1800                                     Miami, FL 33126-5543                            55 2nd St., 17th Fl.
Fort Lauderdale, FL 33301-1252                                                                 San Francisco, Ca 94105-3493

Phil Diamond, CPA, as Orange County Comptrol   Scott Randolph, Orange County Tax Collector     Christopher R. Thompson
c/o Michael A. Paasch, Esq.                    c/o Michael A. Paasch, Esq.                     Burr & Forman LLP
Mateer & Harbert, P.A.                         Mateer & Harbert, P.A.                          200 South Orange Avenue, Suite 800
P O Box 2854                                   P O Box 2854                                    Orlando, FL 32801-6404
Orlando, FL 32802-2854                         Orlando, FL 32802-2854

Universal Towers Construction, Inc.            AT&T                                            AT&T
7800 Universal Blvd.                           P. O. Box 5019                                  P. O. Box 5091
Orlando, FL 32819-8950                         Carol Stream, IL 60197-5019                     Carol Stream, IL 60197-5091



A&C Printing                                   ADP                                             ADP
174B Semoran Commerce Pl                       1851 N Resler Dr                                5800 Windward Pkwy
Suite 117                                      #MS-100                                         Alpharetta, GA 30005-8881
Apopka, FL 32703-4692                          El Paso, TX 79912-8023


ADP                                            AT&T                                            AT&T (IHG)
P. O. Box 842875                               P. O. Box 78522                                 Three Ravinia Dr., Ste 100
Boston, MA 02284-2875                          Phoenix, AZ 85062-8522                          Atlanta, GA 30346-2121



AT&T Mobility                                  (p)ADOBE INC                                    Advanced Resourcing LLC
P. O. Box 6463                                 ATTN CREDIT DEPARTMENT                          9112 Boyce Ave
Carol Stream, IL 60197-6463                    345 PARK AVENUE                                 Orlando, FL 32824-8247
                                               SAN JOSE CA 95110-2704


Aimbridge Hospitality                          Alaska Airlines                                 Amadeus Hospitality Americas I
5851 Legacy Circle #400                        2651 South 192nd Street                         29618 Network Place
Plano, TX 75024-5979                           Seattle, WA 98188-5161                          Chicago, IL 60673-1296
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Ambius LLC                                    American Hotel Register Company               Andrews Filter & Supply Corp
P. O. Box 14086                               P. O. Box 206720                              2309 Coolidge Ave
Reading, PA 19612-4086                        Dallas, TX 75320-6720                         Orlando, FL 32804-4897



Anthony Lazzara                               Ashberry Water Condition Inc.                 Bagel King
707 Little Hampton Lane                       2450 E 4th Avenue                             668 W. Kennedy Blvd
Gotha, FL 34734-4713                          Tampa, FL 33605-5431                          Orlando, FL 32810-6255



Bank of America, N.A.                         Bank of America, N.A.                         Baring Industries
c/o Liebler, Gonzalez & Portuondo             c/o Liebler, Gonzalez & Portuondo             3249 SW 42nd Street
44 West Flagler Street, Suite 2500            44 West Flagler Street, Suite 2500            Fort Lauderdale, FL 33312-6810
Miami, FL 33130-6808                          Miami, Florida 33130-6808


Birch Street Systems                          Bright House                                  Busy Bean Coffee Inc.
1301 Dove Street Ste 300                      P. O. Box 7‘95                                P. O. Box 350
Newport Beach, CA 92660-2462                  Pasadena, CA 91102                            Mount Pleasant, SC 29465-0350



CCR Solutions, Inc.                           CIT                                           CIT BANK NA
4351 35th Street                              21146 Network Pl                              PO Box 593007
Orlando, FL 32811-6509                        Chicago, IL 60673-1211                        San Antonio, TX 78259-0200



CPLS, P.A.                                    CRB Hospitality Mgmt                          CRB Hospitality Mgmt
Tee Persad                                    1650 Sand Lake Rd Ste 130                     1650 Sand Lake Road, Ste 101
CPLS, P.A.                                    Orlando, FL 32809-7686                        Orlando, FL 32809-7671
201 E. Pine Street, STE 445
Orlando, FL 32801-2717

Carlson Wagonlit Travel                       Chemsearchfe                                  Cintas Corp
P. O. Box 860487                              P. O. Box 971269                              97627 Eagle Way
Minneapolis, MN 55486-0487                    Dallas, TX 75397-1269                         Chicago, IL 60678-7627



Cintas Corp                                   Commercial Draperies Inc                      Commercial Drraperies Inc
P. O. Box 630910                              7681 High Pine Rd                             7681 High Pine Rd
Cincinnati, OH 45263-0910                     Orlando, FL 32819-5166                        Orlando, FL 32819-5166



Constrazza International Construction         Constrazza International Construction, I      Cusanos Bakery
c/o Keith T. Grumer                           100 N.E. 3rd Ave, Ste 280                     5480 W Hillsboro Blvd
KATZ BARROn                                   Fort Lauderdale, FL 33301-1165                Coconut Creek, FL 33073-4307
100 N.E. Third Ave., #280
Fort Lauderdale, FL 33301-1165

Cvent Inc.                                    Daytona Hospitality Management                Dex Imaging Inc
P. O. Box 822699                              3135 1st Avenue N, Unit 10778                 7215 South John Young Parkway
Philadelphia, PA 19182-2699                   Saint Petersburg, FL 33733-9233               Orlando, FL 32809-4464
                                Case 6:20-bk-03799-KSJ      Doc 242        Filed 02/10/21   Page 6 of 12
Dex Imaging Inc                                Dex Imaging Inc.                              Dex Imaging, Inc.
P. O. Box 17299                                P. O. Box 17454                               5109 W Lemon St
Clearwater, FL 33762-0299                      Clearwater, FL 33762-0454                     Tampa, FL 33609-1105



Dormakaba USA Inc.                             Dormakaba USA Inc.                            Dow Jones & Co Inc.
P. O. Box 890247                               P. O. Box 896542                              200 Burnett Road
Charlotte, NC 28289-0247                       Charlotte, NC 28289-6542                      Chicopee, MA 01020-4615



Dynamic Attractions, Inc.                      Eckert Seamans Cherin Mellott                 Ecolab, Inc.
224 Outlook Point Dr #100                      P. O. Box 643187                              P. O. Box 100512
Orlando, FL 32809-7257                         Pittsburgh, PA 15264-3187                     Pasadena, CA 91189-0512



Ecolab, Inc.                                   Ecolab, Inc.                                  Edward Don & Co
P. O. Box 32027                                P. O. Box 70343                               2562 Paysphere Circle
New York, NY 10087-2027                        Chicago, IL 60673-0343                        Chicago, IL 60674-0025



Emirates                                       Envirostat                                    FPL Energy Services
Airport Road                                   P. O. Box 592575                              P. O. Box 25426
P.O. Box 686                                   Orlando, FL 32859-2575                        Miami, FL 33102-5426
Dubai, United Arab Emirates


FedEx                                          FedEx                                         Ferguson Enterprises, Inc.
P. O. Box 660481                               P. O. Box 94515                               P. O. Box 100286
Dallas, TX 75266-0481                          Palatine, IL 60094-4515                       Atlanta, GA 30384-0286



Florida Department of Revenue                  Florida Department of Revenue                 Florida Department of Revenue
5050 W. Tennessee Street                       Bankruptcy Unit                               P. O. Box 6520
Tallahassee, FL 32399-0120                     Post Office Box 6668                          Tallahassee, FL 32314-6520
                                               Tallahassee FL 32314-6668


Florida Department of Revenue                  Four Points Orlando International             Freshpoint Central Florida
c/o General Counsel                            5905 International Drive                      8801 Exchange Drive
P. O. Box 6668                                 Orlando, FL 32819-8205                        Orlando, FL 32809-7675
Tallahassee, FL 32314-6668


Frontier Lighting Inc.                         G & R Plumbing Enterprises Inc                Grainger
2090 Palmetto Street                           2545 S Nashville Ave                          Dept 859552556
Clearwater, FL 33765-2134                      Orlando, FL 32805-5255                        Kansas City, MO 64141-6267



Granite                                        Granite Telecommunications LLC                Granite Telecommunications LLC
P. O. Box 982119                               100 Newport Avenue Ext                        P. O. Box 983119
Boston, MA 02298-3119                          Quincy, MA 02171-2126                         Boston, MA 02298-3119
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Guest Supply Inc.                              HCA                                            HD Supply Facilities Maint
P. O. Box 6771                                 P. O. Box 459                                  P. O. Box 509058
Somerset, NJ 08875-6771                        Grafton, IL 62037-0459                         San Diego, CA 92150-9058



HP Direct                                      Halperns Steak & Seafood                       Health Communications, Inc.
301 Rockrimmon Blvd                            P. O. Box 116421                               1501 Wilson Blvd #500
Colorado Springs, CO 80919-2351                Atlanta, GA 30368-6421                         Arlington, VA 22209-2414



(p)HEART OF THE HOUSE HOSPITALITY              Heart of the House Hospitality                 Heritage Service Group of NC
2346 S LYNHURST DR STE A201                    P. O. Box 823424                               P. O. Box 71595
INDIANAPOLIS IN 46241-5168                     Philadelphia, PA 19182-3424                    Chicago, IL 60694-1595



Hewlett-Packard Financial Services             Highrock Partners LLC                          Holiday Hospitality Franchising, Inc.
301 Rockrimmon Blvd.                           2194 Briarhurst Dr                             ATTN: Vice President
Colorado Springs, CO 80919-2351                Highlands Ranch, CO 80126-2605                 Franchise Administration & Licensing
                                                                                              3 Ravinia Dr, Ste 2900
                                                                                              Atlanta, GA 30346-2143

Holiday Hospitality Franchising, Inc.          Holiday Hospitality Franchising, Inc.          Holiday Inn Vacation Club
ATTN: Vice President                           c/o Leib M. Lerner, Esquire                    8505 W. Irlo Bronson Mem. Hwy
Franchise Administration & Licensing           Alston & Bird LLP                              Kissimmee, FL 34747-8217
Three Ravinia Dr, Ste 2900                     333 South Hope Street, 16th Floor
Atlanta, GA 30346-2143                         Los Angeles, CA 90071-1410

Hubert (Punchout)                              Hubert Company LLC                             I-Ride Trolley
25401 Network Place                            9555 Dry Fork Rd                               7081 Grand National Dr, Ste 105
Chicago, IL 60673-1254                         Harrison, OH 45030-1994                        Orlando, FL 32819-8376



Incenitvare Brasil Viagens E Turismo LTD       Industrial Laundry Services LL                 Innerworkings Inc.
Rua Guararapes, 883 -                          2302 Mercator Drive, Ste 102                   7503 Solutions Ctr
Sao Paulo SP, 04561-001, Brazil                Orlando, FL 32807-5300                         Chicago, IL 60677-7005



Internal Revenue Service                       Interstate Hotels Company                      Iron Mountain
Post Office Box 7346                           c/o Interstate Hotels & Resorts Inc            P. O. Box 27128
Philadelphia PA 19101-7346                     ATTN: Chief Admin Officer & Gen Counsel        New York, NY 10087-7128
                                               4501 N Fairfax Dr., Ste 500
                                               Arlington, VA 22203-1668

JetBlue                                        Johnstone Supply                               Kone Inc.
27-01 Queens Plaza North                       1651 S Rio Grande Avenue                       One Kone Court
Long Island City, NY 11101-4020                Orlando, FL 32805-4442                         Moline, IL 61265-1380



Lapin Septic Tank Service Inc                  Light Logic                                    M7 Services LLC
3031 40th Street                               dba Framburg House of Troy                     19747 Highway 59 N #340
Orlando, FL 32839-8624                         902 Silver Ridge Road                          Humble, TX 77338-3536
                                               Hyde Park, VT 05655-9396
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M7 Services LLC                                Massey Services Inc.                             Melanie Zimmer
654 N SH Pkwy E, Ste 110                       P. O. Box 547668                                 2206 Fairmont Circle
Houston, TX 77060-5903                         Orlando, FL 32854-7668                           Orlando, FL 32837-6790



Mid-America Telephone Systems                  Milestone Internet Marketing                     Minuteman Press Sand Lake
618 Cepi Drive Ste A                           3001 Oakmead Village Drive                       7751 Kingspointe Pkwy Ste 117
Chesterfield, MO 63005-1365                    Santa Clara, CA 95051-0833                       Orlando, FL 32819-6503



Mood Media                                     Mr. BarberSpa                                    Nalco Co LLC
P. O. Box 71070                                7121 Blue Indigo Crescent                        P. O. Box 70716
Charlotte, NC 28272-1070                       Winter Garden, FL 34787-6269                     Chicago, IL 60673-0716



Nalco Co LLC                                   Navisite Inc.                                    Nor1 Inc
P. O. Box 730005                               P. O. Box 10138                                  3945 Freedom Cir Ste 600
Dallas, TX 75373-0005                          Uniondale, NY 11555-0138                         Santa Clara, CA 95054-1270



OUC                                            Ocean Bank                                       Ocean Bank
P. O. Box 31329                                780 NW 42nd Ave Ste 400                          c/o Daniel M Coyle, Esq
Tampa, FL 33631-3329                           Miami, FL 33126-5542                             1111 Brickell Avenue, Suite 1250
                                                                                                Miami, FL 33131-3123


Ocean Bank                                     Onpeak                                           Oracle America Inc.
c/o Gregory S. Grossman, Esq.                  8313 Collection Center Dr                        P. O. Box 203448
1111 Brickell Ave. Ste 1250                    Chicago, IL 60693-0083                           Dallas, TX 75320-3448
Miami, FL 33131-3123


Oracle America, Inc.                           Orange County Comptroller                        Orange County Tax Collector
c/o Shawn M. Christianson, Esq.                Tourist Development Tax                          PO Box 545100
Buchalter PC                                   P. O. Box 4958                                   Orlando FL 32854-5100
55 2nd St., 17th Fl.                           Orlando, FL 32802-4958
San Francisco, CA 94105-3493

Over the Top Rental Linens                     Plaza Resort Shoppes                             Profitsword
6501 N Andrews Ave                             9187 Ridge Pine Trl                              9355 Cypress Cove Drive
Fort Lauderdale, FL 33309-2131                 Orlando, FL 32819-4821                           Orlando, FL 32819-5324



Profitsword                                    Proscape                                         Quench USA Inc.
P. O. Box 865342                               285 E Oak Ridge Rd                               P. O. Box 781393
Orlando, FL 32886-5342                         Orlando, FL 32809-4140                           Philadelphia, PA 19178-1393



Quore                                          RD Pool Maint Inc                                Red Hawk Fires & Security LLC
20000 Meridian Blvd., Ste 200                  2353 N Stewart St                                P. O. Box 530212
Franklin, TN 37067                             Kissimmee, FL 34746-3046                         Atlanta, GA 30353-0212
                                Case 6:20-bk-03799-KSJ      Doc 242           Filed 02/10/21   Page 9 of 12
Red Hawk Fires & Security LLC                  Royal Cup Inc.                                   Rumberger, Kirk & Caldwell, P.A.
P. O. Box 842422                               P. O. Box 841000                                 Michael D. Begey
Boston, MA 02284-2422                          Dallas, TX 75284-1000                            Esquire
                                                                                                300 S. Orange Avenue, Suite 1400
                                                                                                Orlando, FL 32801-3380

Sheraton Lake Buena Vista                      Sherwin Williams                                 Shoes for Crews Inc
12205 Apopka-Vineland Rd                       8414 S. Orange Blossom Trail                     250 S. Australian Avenue
Orlando, FL 32836-6804                         Orlando, FL 32809-7906                           West Palm Beach, FL 33401-5018



Shoes for Crews Inc                            Shred-It USA                                     Shred-It USA
5000 T-Rex Ave, Suite 100                      23166 Network Pl                                 28883 Network Pl
Boca Raton, FL 33431-4492                      Chicago, IL 60673-1252                           Chicago, IL 60673-1288



Shred-It USA                                   Skal Intl Orlando                                Sonifi
P. O. Box 101007                               P. O. Box 720423                                 777 S. Figueroa Street
Pasadena, CA 91189-1007                        Orlando, FL 32872-0423                           Suite 4225
                                                                                                Los Angeles, CA 90017-5801


Southern Aluminum                              Spectrum                                         Squirrel Systems
P. O. Box 884                                  4145 S. Falkenburg Road                          PMB 740
Magnolia, AR 71754-0884                        Riverview, FL 33578-8652                         Blaine, WA 98230-4033



Staples Business Advantage                     Sterling Talent Solutions                        Sterling Talent Solutions
P. O. Box 70242                                P. O. Box 102255                                 P. O. Box 1048
Philadelphia, PA 19176-0242                    Pasadena, CA 91189-2255                          Bothell, WA 98041-1048



Sterling Talent Solutions                      Summit Broadband                                 Summit Broadband Inc.
P. O. Box 3876                                 P. O. Box 10822                                  4558 35th Street Ste 100
Seattle, WA 98124-3876                         Naples, FL 34101-0822                            Orlando, FL 32811-6541



Sunbrite Outdoor Furniture Inc.                Superior Fire                                    System Tech Services Inc
610 Irene Street                               397 Enterprise St. Ste C                         851 Central Park Dr
Orlando, FL 32805-1050                         Ocoee, FL 34761-3035                             Sanford, FL 32771-6602



TG Lee Dairy                                   TWC Services Inc                                 TWC Services Inc
P. O. Box 746108                               5080 Highlands Pkwy, Ste A150                    P. O. Box 1612
Atlanta, GA 30374-6108                         Smyrna, GA 30082-5155                            Des Moines, IA 50306-1612



Talentwise                                     Team Travel Source                               Teco
P. O. Box 3876                                 12910 Shelbyville Road Ste 215                   P. O. Box 31318
Seattle, WA 98124-3876                         Louisville, KY 40243-1594                        Tampa, FL 33631-3318
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The Battery Bank                              The Battery Bank                                Tingue Brown & Co
2565 Pemberton Drive                          4502 35th Street #700                           P. O. Box 824619
Apopka, FL 32703-9458                         Orlando, FL 32811-6547                          Philadelphia, PA 19182-4619



Travelclick Inc                               Travelclick Inc                                 UPS Freight
300 N Martingale Rd Ste 650                   P. O. Box 71199                                 P. O. Box 7247-0244
Schaumburg, IL 60173-2089                     Chicago, IL 60694-1199                          Philadelphia, PA 19170-0001



US Foodservice Inc.                           Uniguest                                        United Fire Protection Inc.
P. O. Box 198421                              P. O. Box 306225                                3247 Tech Dr N
Atlanta, GA 30384-8421                        Nashville, TN 37230-6225                        Saint Petersburg, FL 33716-1008



Visit Orlando                                 Waste Connect                                   Waste Connections of Florida
6277 Sea Harbor Dr, Ste 400                   1099 Miller Drive                               Orlando Hauling
Orlando, FL 32821-8043                        Altamonte Springs, FL 32701-2069                1099 Miller Drive
                                                                                              Altamonte Springs, FL 32701-2069


Waste Connections of Florida                  Waste Connections of Florida                    Whaley Parts & Supply
P. O. Box 535233                              P. O. Box 742695                                P. O. Box 615
Pittsburgh, PA 15253-5233                     Cincinnati, OH 45274-2695                       Lexington, SC 29071-0615



Whaley Parts & Supply                         Winter Park Photography                         Winter Park Photography
P. O. Box 890962                              1808 Magnolia Ave                               P. O. Box 2301
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                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Adobe Inc.                                             Heart of the House Hospitality
345 Park Avenue                                        2346 S. Lynhurst Dr, Ste A201
San Jose, CA 95110                                     Indianapolis, IN 46241-5168




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(d)CRB Hospitality Mgmt                                (d)Constrazza International Construction, I          (u)Constrazza International Construction, Inc
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(d)Christopher R Thompson +                End of Label Matrix
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